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				IN RE AMENDMENT OF RULE 5 OF RULES GOVERNING ADMISSION TO PRACTICE OF LAW2016 OK 60Case Number: 6349Decided: 06/01/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 60, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

&nbsp;



IN RE: AMENDMENT OF RULE 5 OF THE RULES GOVERNING ADMISSION TO THE PRACTICE OF LAW, 5 O.S. Supp. 2015, ch. 1, app. 5 )




ORDER


Rule 5 of The Rules Governing Admission to the Practice of Law in the State of Oklahoma, as currently amended by this Court's Order of May 23, 2016, 2016 OK 57, and attached hereto, is hereby amended effective immediately.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE the 31st day of May, 2016.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR



&nbsp;


&nbsp;

Rules Governing Admission to the Practice of Law in the State of Oklahoma
Chapter 1, App. 5
Rule 5. Examination.

All applicants for admission by examination who:

A) shall have attained a grade of at least 75% in the subject of Oklahoma Rules of Professional Conduct; and

B) shall have attained an average grade of at least 75% on the examination given by the Board of Bar Examiners covering combinations of the subjects hereinafter specified; shall have attained a combined grade equivalent to at least 75% on the examination given by the Board of Bar Examiners which shall include: 1) the Multistate Bar Examination (MBE); and 2) essay questions which cover combinations of the subjects hereinafter specified:

The examination shall cover combinations of the following subjects:

1. Oklahoma Rules of Professional Conduct

2. Commercial Law, which may include:
(a) Contracts
(b) Uniform Commercial Code
(c) Consumer Law
(d) Creditor's rights, including bankruptcy

3. Property

4. Procedural Law, which may include:
(a) Pleadings
(b) Practice
(c) Evidence
(d) Remedies (damages, restitution and equity)

5. Criminal Law

6. Business Associations, which may include:
(a) Agency
(b) Partnerships (including joint ventures)
(c) Corporations
(d) Limited Liability Companies

7. Constitutional and Administrative Law

8. Torts

9. Intestate Succession, wills, trusts, estate planning, including federal estate and gift taxation

10. Conflicts of law

11. Family law

C) shall have attained a satisfactory score on The Multistate Bar Examination (MBE), when considered in combination with the score obtained in Subsection B; and 

D) and C) are otherwise qualified under these rules

shall be recommended by the Board of Bar Examiners for admission to the practice of law in this state.

Any applicant who is otherwise qualified to be recommended for admission to the Bar except by reason of failure to pass satisfactorily the section of the Oklahoma Bar Examination concerning the Oklahoma Rules of Professional Conduct shall be eligible for re-examination on the subject Oklahoma Rules of Professional Conduct. Such re-examination shall be conducted by the Board at a time and place to be fixed by the Board and may be written or oral or both. If, upon such reexamination, the applicant receives a satisfactory grade in the subject Oklahoma Rules of Professional Conduct and is found by the Board to have otherwise qualified to be recommended for admission to the Bar, such applicant shall thereupon be so recommended. Any applicant who fails to receive a satisfactory grade upon such reexamination shall be required to reapply for permission to take a further examination concerning the Oklahoma Rules of Professional Conduct, which may be given at the discretion of the Board.

There shall be held two bar examinations each year, at dates, times, places and duration to be prescribed by the Board of Bar Examiners.





	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	Title 5. Attorneys and the State Bar
&nbsp;CiteNameLevel

&nbsp;5 O.S. Rule 5, ExaminationCited


	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;2016 OK 57, IN RE AMENDMENT OF RULE 5 OF RULES GOVERNING ADMISSION TO PRACTICE OF LAWCited


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
